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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  K.N. and J.N., on behalf of
  J.N.,

                 Plaintiffs,            Civil No. 17-7976 (NLH/JS)

        v.                              OPINION

  GLOUCESTER CITY BOARD OF
  EDUCATION,

                 Defendant.


APPEARANCES:

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HILLMAN, District Judge

      This case concerns the appeal of a decision of an

administrative law judge (“ALJ”) finding no violations of

federal and state anti-discrimination laws in a school

district’s provision of services for an autistic child, J.N, in

an after-school program (“ASP”).        Presently before the Court is

Plaintiffs’ Motion for Judgment on the Administrative Record
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(“Motion for Judgment”).      The Court will grant Plaintiffs’

Motion for Judgment, in part, and will order supplemental

briefing on the issue of remedies.

                                BACKGROUND

      This Court takes its facts from the parties’ statements of

material facts.     This Court will note disputes where relevant.

      J.N. was a resident within the area served by Defendant

Gloucester City Board of Education (the “District”).           During the

2013-2014 and 2014-2015 school years, J.N. attended an

elementary autism program at Mary Ethel Costello School (“Mary

Ethel”).   Jennifer Williams, a school social worker, was J.N.’s

case manager and at one point, a one-to-one aide in the ASP.

She was a daily presence in J.N.’s classroom during the 2013-

2014 school year.     Kristen Brennan, a special education teacher,

taught J.N. since 2013.      Anita Dalton-Haggerty (“Haggerty”) was

J.N.’s one-to-one aide from 2008 until at least 2016.            Nicholas

Orsino is a classroom aide and was in J.N.’s classroom for at

least three years.

      The District ran an ASP during the 2013-2014 and 2014-2015

school year through a grant from the 21st Century Community

Learning Center Program (the “21st Century Grant”).           During the

2013-2014 school year (when J.N. was in third grade), J.N. was

bussed from Mary Ethel to Cold Springs Elementary School (“Cold

Springs”) for the ASP.      During the 2014-2015 school year (when

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J.N. was in fourth grade), J.N. attended the ASP at Mary Ethel

and was not bussed. 1

      The ASP usually ran from approximately 3:00 or 3:15 PM to 6

PM.   According to Plaintiffs, the ASP was “designed to address

the education[al], recreational, social, cultural, emotional,

and physical needs of [] students” and included academic

support, “sports, yoga, kickboxing, theater activities, cooking,

science activities, jewelry making, arts & crafts, and team-

building activities.”      (Pls.’ SOMF ¶ 6.)     The classrooms were

inclusive, containing both general and special education

students.    Approximately 100-150 total students were a part of

the ASP during the relevant times.

      A general day at the ASP would include the following:

      These students would come in, they would have [a]
      snack and a little bit of free time. The students
      would then work on their homework, having 20 minutes
      of free reading, silent reading, and then typically

1 The court notes that Defendant disputes these portions of
Plaintiffs’ statement of material facts asserting it relies “on
its counter statement of material facts.” (Def.’s SOMF ¶¶ 3-5.)
Reviewing the counterstatement of facts, the Court finds there
is no dispute. Although the Court declines to do so here, the
Court may deem Plaintiffs’ entire statement of material facts
admitted because of Defendant’s improper response. See Juster
Acquisition Co., LLC v. N. Hudson Sewerage Auth., No. 12-3427
(JLL), 2014 U.S. Dist. LEXIS 8703, at *5 n.1 (D.N.J. Jan. 23,
2014) (“[A]ny statement, or portion thereof, that is not clearly
denied — in substance, not merely with the label ‘disputed’ —
and with a proper citation to the record in a responsive Rule
56.1 statement is deemed admitted.”). The Court will note when
there is an actual dispute. If it does not note so, the Court
has determined that a fact summarily denied by Defendant is not
actually disputed.
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       they would either have group activities within the
       classroom setting or on Fridays they may go to the gym
       or watch a movie.

(Tr. 9/11/2015 at 68:13-19.)

       Because it seems to be of most relevance to this case, the

Court will break down J.N.’s attendance at the ASP in fall 2013,

spring 2014, and fall 2014 and what behavioral issues occurred

at the ASP and during the school day at those times.           The

program ended after spring 2015 because the District did not

receive the 21st Century Grant that provided funding for the

ASP.    J.N. attended a different ASP and an extended school year

program (the “ESY Program”) from July to December 2015 (with

one-to-one support and access to a group aide) and from January

2016 to present (with two-to-one support) at parental expense.

J.N. also attended the ASP in spring 2013 with a trained, one-

to-one aide.

Fall 2013

       As discussed supra, during fall 2013, J.N. attended the ASP

and was bussed from Mary Ethel to Cold Springs.          Before starting

the ASP, K.N. spoke with Williams and “expressed concerns” about

ensuring J.N.’s ASP aide was appropriately trained.           (Pls.’ SOMF

¶ 10.)    J.N. was provided with a one-to-one aide for the ASP,

Jane Heitman.    During this time in the ASP, J.N. “exhibited

behavioral problems, aggression, self-injurious behavior and




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tantrums.” 2   (Pls.’ SOMF ¶ 11.)     Multiple times a week, J.N.’s

behavioral problems were so serious that K.N. would be called

and asked to pick him up early from the ASP. 3         J.N.’s behavior

also deteriorated during the school day.         (Tr. 1/19/2016 at

19:14-20:1.)

      Williams did not observe J.N.’s behavior at the ASP during

this time period, but was able to observe J.N.’s behavior during

the school day when she visited his classroom.          It appears that

J.N.’s behaviors were stable when he began the ASP during fall

2013.   Plaintiffs assert his behavior – during the school day -

deteriorated after leaving the ASP but before starting again in

January.   But that is not borne out by the record.          According to

Williams, there was an uptick in behavioral issues midway

2 For full context, the Court notes the District did have a
behavioral plan in place for J.N. developed by Dr. Kathleen
McCabe-Odri, Ed.D., BCBA-D. Although it may be obvious, the
Court notes that the behaviors exhibited by J.N. are a result of
his autism. To help prevent J.N.’s aggressions, self-injurious
behaviors, and perseverations, the District utilized a “token
economy system.” For good behavior and finishing tasks, J.N.
would receive a token that could be redeemed for an activity or
item he enjoyed. (Tr. 9/11/2015 at 55:10-21.) The District
also used a calm area, visual schedule, and a calm card. The
calm card was a card that listed steps for calming J.N., which
consisted of counting to five and then saying “I am calm.” (Tr.
9/11/2015 at 53:21-54:1.) The visual schedule showed J.N.’s
schedule for the day in pictures on his iPad so he would know
exactly what he would be doing at all times of the day. (Tr.
9/11/2015 at 54:7-17.)

3 Plaintiffs attribute the behavioral issues to Heitman’s lack of
training, not J.N.’s inability to attend the ASP without serious
behavioral issues. This will be discussed more infra.


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through and at the end of the second marking period which

coincided with J.N.’s January return to the ASP – with the

additional staffing discussed, infra.         (Tr. 1/19/2016 at 76:17-

77:3, 78:17-20, 100:10-101:13.)

      On October 2, 2013, K.N. again reached out to Williams, via

email, and stated she thought Heitman needed both training and

support from a special education teacher.         (Pls.’ Mot. for J.,

Ex. 8.)   Specifically, K.N. noted J.N. was successful the

previous spring when J.N. had a trained and supported one-to-one

aide.   (Pls.’ Mot. for J., Ex. 8.)       Heitman resigned in October

2013, according to the parties, because she felt she could not

properly maintain J.N.’s behavior.        (Def.’s SOMF ¶ 29.)      As a

result, J.N. was unable to attend the ASP starting in October

2013 until a new replacement could be found.

Spring 2014

      After Heitman resigned, the District and Plaintiffs

discussed an alternative arrangement to allow J.N. to continue

attending the ASP.     K.N. requested trained, one-to-one support

for J.N. in the ASP.      The District agreed to provide J.N. with a

special education teacher and two aides, with one aide to be

removed after six weeks.      According to the District, this

arrangement was made to ensure the safety of staff and students. 4


4 Plaintiffs deny this without citation to the record.
Plaintiffs merely argue this was required to ensure legal access
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      The special education teacher was Maria Maiorano and the

aides were Williams, the previously mentioned school social

worker, and Karina Pennoc.       Williams began in January and was

faded out by the middle of February.

      During Williams’s time with J.N., he still exhibited

aggressive behaviors, self-injurious behaviors, and

perseverations 5 at the ASP.      His aggressive behaviors were

limited to pinching; Williams does not recall any successful

bites.   According to Williams, during this time period, J.N. was

sometimes picked up after homework and silent reading time,

before social interactions began between the students.            As a

result of this, and the amount of aides and teachers that

supervised J.N., J.N. did not receive much social interaction

with other students.      Williams also testified that it was

difficult to get J.N. onto and off the bus.          (Tr. 9/11/2015 at

82:5-83:11.)    Williams did, however, note that J.N.’s behavior

issues, which increased in the fall of 2013, leveled off into

late-winter 2013 and spring 2014.        (Tr. 1/19/2016 at 31:23-32:1,



to the ASP. Thus, this is not a genuine disputed fact, just a
disagreement of law more properly decided infra.

5 J.N.’s perseverations usually centered around a few topics. If
he was not feeling well, J.N. would repeat “ears” and “doctors.”
(Tr. 9/11/2015 at 51:18-24.) If he thought it was the end of
the day, wanted to go home, or if his one-to-one aide, Haggerty,
left the room, J.N. would say words like “Mommy,” “McDonald’s,”
“bus,” “home,” and “Ms. Haggerty.” (Tr. 9/11/2015 at 51:18-24,
52:9-17.)
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81:23-82:17.)    Williams, when questioned about the J.N.’s

behaviors stated that she “still saw behaviors in [the ASP], but

due to the amount of staff members we were able to – to maintain

him.”   (Tr. 1/19/2016 at 29:16-24 (emphasis added).)

Fall 2014

      At the beginning of the 2014-2015 school year, J.N.’s one-

to-one aide in the ASP was Susan Marinelli. 6         As stated supra,

J.N. was not bussed, but instead transferred classrooms within

Mary Ethel.    Williams and Brennan created a timeline around the

time J.N. was in the ASP and noted increased anxiety and

behavior issues in both the ASP and during the school day in

October 2014.    (Tr. 1/19/2016 at 40:12-23.)        As of October 28,

2014, when Marinelli resigned, J.N. did not attend the ASP.

According to Williams, Marinelli “resigned from the [ASP] due to

multiple injuries sustained from J.[N.]”         (Tr. 1/19/2016 at

40:24-41:1.)    In November 2014, J.N.’s behavior issues

culminated in two successful bites on two separate staff

members, Orsino and Rose Fitzpatrick, a speech therapist for the

District.    (Tr. 1/19/2016 at 41:8-13.)       Brennan stated that when

J.N. attended the ASP with Marinelli in fall 2014, his time in

the ASP “was not successful.”       (Tr. 1/19/2016 at 187:24-188:2.)

6 Marinelli was also a paraprofessional in J.N.’s classroom
during the 2013-2014 and 2014-2015 school year. J.N.’s teacher,
Brennan, testified that Marinelli was “intimately familiar” with
J.N.’s IEP, which included his behavior plan. (Tr. 1/19/2016 at
130:16-19.)
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Lauren Bermudez, a paraprofessional who also worked in the ASP

during fall 2014 (not with J.N.), stated that Marinelli told her

that “J.N. was overwhelming her and was too much for her.”

(Pl.’s Mot. for J., Ex. 9 14.)

      The District and Plaintiffs ultimately did not agree on

whether to allow J.N. to continue to attend the ASP.           The

District stated that it would not allow J.N. back into the ASP

until the behavior issues he was exhibiting at the time were

stabilized.    Plaintiffs insisted that J.N. could attend as long

as he was given the support he received in spring 2014.            The

District refused, only offering a one-to-one aide without the

support of a special education teacher.         As stated supra, the

ASP was discontinued at the end of the 2014-2015 school year for

lack of funding.     It appears that during this entire time

period, even though J.N. was experiencing behavioral issues both

in the classroom and in the ASP, J.N. continued to progress

towards his goals during the school day.

      Thereafter, Plaintiffs filed a Petition for Due Process

(“Petition”) with the New Jersey Office of Special Education

Programs on January 22, 2015.       The Petition listed four counts:

(1) violation of Individuals with Disabilities Education Act

(“IDEA”) for refusal to add the ASP to J.N.’s IEP; (2) violation

of IDEA for pre-determining that the J.N.’s IEP would not

include the ASP; (3) Americans with Disabilities Act (“ADA”) and

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Section 504 of the Rehabilitation Act (“Section 504”) violations

for limiting or denying J.N. participation in the ASP; and (4)

interference claim under the ADA for denying J.N. benefits, here

the ASP, to which he was entitled.         Plaintiffs requested

declaratory, compensatory, and injunctive relief as well as

attorney’s fees.

        An administrative hearing was held on September 11, 2015,

January 19, 2016, and April 18, 2016 before ALJ Susan M.

Scarola.     Witnesses who provided services to J.N. during the

time periods at-issue were examined by the parties.            On

September 8, 2017, the ALJ issued a written opinion.            In it, the

ALJ made specific findings of fact and conclusions of law –

which will be discussed as relevant infra.          The conclusions of

law can be split into two separate categories.           On the issue of

whether a free and appropriate public education (“FAPE”) was

provided to J.N., the ALJ concluded it had been.           On the issue

of whether there were ADA or Section 504 violations, the ALJ

concluded that J.N. had been provided access to the ASP with

proper supports in place. 7

      Plaintiff filed a complaint in this Court on October 6,

2017.     Essentially, the complaint requests this Court to review

the decision of the ALJ on only a subset of the issues presented

7 The Court finds it important to note that the ALJ’s opinion did
not mention Section 504, the ADA, or NJLAD except to note
Plaintiffs had brought claims under these statutes.
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to the ALJ.      Plaintiffs do not appeal the decision insofar as it

decided the dispute under IDEA and held that J.N. had received

FAPE.      Instead, the sole focus of Plaintiffs’ appeal concerns

anti-discrimination laws – specifically Section 504, Title II of

the ADA, and the corresponding New Jersey Law Against

Discrimination (“NJLAD”) provisions.

      Plaintiffs filed a Motion for Judgment on July 27, 2018.

It has been fully briefed by the parties and is ripe for

adjudication.

                                  ANALYSIS

      A.     Subject Matter Jurisdiction

      This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1367.

      B.   Motion for Judgment on the Administrative Record
      Standard

      Although technically framed before the Court as a motion

for summary judgment, this is an appeal of the ALJ’s ruling in

the underlying administrative proceedings.          This case presents a

somewhat peculiar issue concerning the standard of review.

Plaintiffs explain that because IDEA violations were initially

asserted, administrative exhaustion was required for both the

IDEA and non-IDEA claims under 20 U.S.C. § 1415(l).            (Pls.’ Mot.

for J. 1.)     So, although the claims now before the Court would

not typically be the subject of an appeal – as they are not



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necessarily subject to an administrative exhaustion requirement

when brought standing alone – they are presently before the

Court in that procedural posture.

       Normally, in an IDEA case, the Court would apply a modified

de novo standard of review to the factual findings made by an

ALJ.    E.I.H. v. Fair Lawn Bd. of Educ., 747 F. App’x 68, 71 (3d

Cir. 2018).    Under that standard, a district court would be

required to give “due weight” to the factual findings of an ALJ,

and, if the district court departs from the ALJ’s factual

findings, it must explain its reasons for doing so.            Id. (citing

S.H. v. State-Operated Sch. Dist. of City of Newark, 336 F.3d

260, 270 (3d Cir. 2003)).       Although the “due weight” standard is

not explicitly stated in the IDEA statutory scheme, it does

arise out of the Supreme Court’s interpretation of it.            See

Carlisle Area Sch. v. Scott P. by & through Bess P., 62 F.3d

520, 527 (3d Cir. 1995), cert. denied, 517 U.S. 1135 (1996)

(citing Bd. of Educ. v. Rowley, 458 U.S. 176, 206 (1982)).

Thus, it does not necessarily apply to claims under Section 504

or the ADA.

       This is where the issue arises in the instant case.

Plaintiffs have only appealed the Section 504 and ADA claims

that were heard before the ALJ.        The Third Circuit has yet to

determine whether, in this particular factual scenario, the

modified de novo or de novo standard of review applies.            T.F. v.

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Fox Chapel Area Sch. Dist., 589 F. App’x 594, 598 (3d Cir.

2014).     Thus, this Court will apply a de novo standard of review

to the facts.     This seems appropriate in this case because the

claims at issue here were only brought before the ALJ because of

the requirement to exhaust the IDEA claims.          Moreover, the

modified de novo standard stems from an interpretation of IDEA,

not from any interpretation of Section 504 or the ADA.

      Under any set of facts, legal determinations must be

reviewed de novo.      A.D.L. v. Cinnaminson Twp. Bd. of Educ., 975

F. Supp. 2d 459, 464 (D.N.J. 2013); W. Windsor-Plainsboro Reg’l

Sch. Dist., Bd. Of Educ. v. M.F. & M.F., No. Civ. A. 09-4326,

2011 U.S. Dist. LEXIS 21827, at *22 (D.N.J. March 4, 2011)

(citing Carlisle Area Sch., 62 F.3d at 528).          Accordingly, the

Court will review both legal and factual determinations made by

the ALJ de novo.

      C.    Motion for Judgment on the Administrative Record

      Plaintiffs set forth several factual findings and legal

conclusions from the ALJ’s opinion that they assert are

erroneous.    The Court will examine the factual findings first.

Once the factual issues have been decided, the Court will

examine the legal conclusions challenged by Plaintiffs.            These

issues will be decided under the de novo standard explained

supra.     Before it does so, the Court will first determine

whether the laws at issue are applicable to this case.

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         a. Whether Federal and State Anti-Discrimination Law
            Applies to the ASP

      First, this Court considers a threshold matter: whether

Section 504, the ADA, or the NJLAD apply to the ASP.            Plaintiffs

assert it does and it appears the District does not dispute that

assertion.    For the sake of completeness – and to better put in

context the errors cited by Plaintiffs in the ALJ’s opinion -

this Court will consider whether each of the laws cited supra

apply.    The Court will address each in turn.

      Section 504 states:

      No otherwise qualified individual with a disability in
      the United States, as defined in section 705(20) of
      this title, shall, solely by reason of her or his
      disability, be excluded from the participation in, be
      denied   the   benefits   of,  or    be subjected   to
      discrimination under any program or activity receiving
      Federal financial assistance . . . .

29 U.S.C. § 794.      By its plain text, Section 504 applies to a

federally-funded ASP provided by a New Jersey public school.

      Title II of the ADA states that:

      no qualified individual with a disability shall, by
      reason   of   such   disability,   be   excluded   from
      participation in or be denied the benefits of the
      services, programs, or activities of a public entity,
      or be subjected to discrimination by any such entity.

42 U.S.C. § 12132.      By its plain text, it is clear that the ADA

applies to a federally-funded ASP provided by a New Jersey

public school.

      NJLAD states:



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      All persons within the jurisdiction of this state
      shall   be    entitled    to  the    full   and    equal
      accommodations, advantages, facilities and privileges
      of any places of public accommodation, resort or
      amusement,   subject   only  to   the   conditions   and
      limitations established by law and applicable alike to
      all persons.

N.J. STAT. ANN. § 10:1-2.     Again, by its plain text, NJLAD would

clearly apply to an ASP provided by a New Jersey public school.

      All parties agree, the standard under all three of these

statutes 8 requires J.N. to show he: “(1) has a disability; (2)

was otherwise qualified to participate in a school program; and

(3) was denied the benefits of the program or was otherwise

subject to discrimination because of [his] disability.”

Chambers v. Sch. Dist. of Phila. Bd. of Educ., 587 F.3d 176, 189

(3d Cir. 2009) (citing Nathanson v. Med. Coll. of Pa., 926 F.2d

1368, 1380 (3d Cir. 1991)). 9      It appears the parties do not

dispute whether J.N. had a disability and whether he was




8 The Court notes that both Section 504 and NJLAD are, for the
most part, interpreted consistently with the ADA. See Chisolm
v. McManimon, 275 F.3d 315, 324 n.9 (3d Cir. 2001) (“[W]e will
confine our discussion to the ADA with the understanding that
the principles will apply equally to the Rehabilitation Act and
NJLAD claims.”). As is likely obvious, the ADA is also
interpreted consistently with Section 504. Berardelli v. Allied
Servs. Inst. of Rehab. Med., 900 F.3d 104, 114-18 (3d Cir.
2018).

9 The Court notes for the record that Section 504 claims also
require that the school district receive federal funding. Blunt
v. Lower Merion Sch. Dist., 767 F.3d 247, 274 (3d Cir. 2014).
Since the District received federal funding specifically for
this program, the Court finds this element is met here.
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otherwise qualified. 10     Thus, the dispute between the parties

solely concerns the third element.

      In terms of access, the “substantive standards” under

Section 504 and the ADA “are the same.”          Blunt, 767 F.3d at 275

(quoting Ridley Sch. Dist. v. M.R., 680 F.3d 260, 282-83 (3d

Cir. 2012)).     On that point, the Third Circuit has explained:

      a school district must reasonably accommodate the
      needs of the handicapped child so as to ensure
      meaningful participation in educational activities and
      meaningful access to educational benefits. . . .
      However, § 504 does not mandate “substantial” changes
      to the school’s programs, and courts “should be
      mindful of the need to strike a balance between the
      rights of the student and [his or her] parents and the
      legitimate financial and administrative concerns of
      the [s]chool [d]istrict.”

Blunt, 767 F.3d at 274 (quoting Ridley, 680 F.3d at 280-81)

(alterations in original).       The Court will discuss specific

rules as applicable, infra.

         b. Whether the ALJ Committed Error by Ignoring the Fact
            That J.N. Successfully Attended the ASP with a Special
            Education Teacher and an Aide

      Here, Plaintiffs argue that the ALJ ignored the fact that

J.N. successfully attended the ASP when provided with a special

education teacher and at least one one-to-one aide in spring

2014.   Then, Plaintiffs cite portions of the ALJ’s decision

which state exactly this point.        The ALJ, at multiple points


10There is no question that J.N.’s autism qualifies as a
disability under any of these three statutes. See, e.g., 34
C.F.R. § 104.3(j), (l)(2), & (m) (regulations defining
“handicapped person” under Section 504).
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within the opinion, stated J.N. had access to the program during

spring 2014 when provided with a special education teacher and

two one-to-one aides (and, later, only one one-to-one aide).

Thus, the Court finds Plaintiffs’ argument is built on a

fallacy: the ALJ did not ignore what she herself stated. 11

      To the extent Plaintiffs argue that either (1) J.N.’s

behavior in fall 2014 was a result of an untrained one-to-one

aide or (2) legal access to the ASP for J.N. may only be

achieved if J.N. is provided with a special education teacher

who supervises a trained one-to-one aide, this Court will

address those arguments infra. 12

         c. Whether the ALJ’s Finding of Fact Concerning Bussing
            was Clearly Erroneous




11Moreover, Plaintiffs later argue “[t]he ALJ acknowledged that
J.N. successfully attended the after[-]school program with [a
one-to-one aide trained and supported by a special education
teacher] in the spring of 2014.” (Pl.’s Mot. for J. 12
(emphasis added).) This directly contradicts Plaintiffs’
argument here.

12If, instead, Plaintiffs argue that legal access is only
achieved when a child is successful, the Court rejects that
assertion. This is not because the Court does not wish J.N. (or
any child for that matter) success, but because it is not the
legal standard. The standard here is meaningful access, not
success. See Alexander v. Choate, 469 U.S. 287, (1985)
(“Section 504 seeks to assure evenhanded treatment and the
opportunity for handicapped individuals to participate in and
benefit from programs receiving federal assistance. Se. Cmty.
Coll. V. Davis, 442 U.S. 397 (1979). The Act does not, however,
guarantee the handicapped equal results . . . .” (emphasis
added)).
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       The ALJ found that the increase in behaviors starting in

fall 2014 “came from several factors” including transferring

schools and dislike of the bus.        Plaintiffs argue that this

factual finding was incorrect, as the hearing testimony of

Williams shows he was not bussed during the 2014-2015 school

year because the ASP was provided at Mary Ethel – the school

J.N. attended at the time.       Defendants do not dispute that this

finding was incorrect, but argue this was only one of the

factors cited and is a minor point of contention.

       The Court finds, viewing the factual findings de novo, that

during fall 2014, J.N.’s behavioral problems could not have

stemmed from transferring schools or bussing.           The Court will

determine the import of this error in context when examining the

other factual findings and conclusions of law challenged by

Plaintiffs.

         d. Whether the District was Required to Present Data
            Concerning the Source of J.N.’s Behavior

       The ALJ found that the increase in behaviors starting in

fall 2014 “came from several factors: a long school day; a

resistance to transferring from one school to another; dislike

of the bus; and health problems.”         (Pl.’s Mot. for J., Ex. 9

20.)    On those findings, Plaintiffs assert that because the

District did not provide data concerning J.N.’s behavior during

the time he attended the ASP, the ALJ’s factual findings were


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based on speculation.      The District does not dispute that no

data was collected for the relevant time periods, but points out

that it had no statutory obligation to collect data.            Obviously,

whether the District had an obligation to collect data does not

address whether the evidence presented was sufficient to show

that J.N.’s behavior was caused by his attendance at the ASP.

      It appears then, that all parties agree: no behavioral data

was collected during the time periods at issue – specifically

when J.N. was attending the ASP.          But, it does not automatically

follow that the ALJ’s findings of fact on the source of J.N.’s

behavior is solely speculation.        In fact, Plaintiffs’ argument

hinges solely on the testimony of Williams.          Here is the

testimony cited by Plaintiffs:

      Q:   Okay and the purpose of data collection is so
      that you can determine the function of the behavior,
      correct?
      A:   Correct.
      Q:   And there was never any data collection of the
      type that’s exhibited in R-38 while J. was attending
      the [ASP], was there?
      A:   No.

(Tr. 1/19/2016 at 96:25-97:7.)

      Plaintiffs interpret this testimony as an admission that

the root cause of a behavior (in behavioral terms, the

“function”) may only be determined through data collection.

While the Court agrees with Plaintiffs to the extent they assert

the function of a behavior may be determined through data


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collection, the testimony does not go so far as to state there

is no other means of doing so.        While the Court acknowledges the

methodology (to the extent it could be called one) is not

rigorous or particularly sophisticated, it does not mean that

the ALJ based her opinion on speculation.          In fact, there is

ample record evidence to support the ALJ’s findings here.

Multiple witnesses, including those with the most constant day-

to-day contact with J.N. noticed marked changes in the amount of

behaviors when he was in the ASP as opposed to when he was not

and attributed the increase in behaviors to the factors the ALJ

cited.    While the weight of this testimony may be relatively

low, since Plaintiffs did not present contrary evidence, this

testimony stands as stated.

      Moreover, Plaintiffs provide the Court with no legal

requirement that this type of evidence must be reduced to the

form of data to be admissible or reliable.          This Court reviewing

the factual findings of the ALJ de novo, finds that it was not

incorrect for the ALJ to rely on testimony of various witnesses

for the proposition that J.N.’s misbehavior stemmed from

attendance at the ASP. 13

         e. Whether the Source of J.N.’s Behavior Was a Lack of
            Proper Support or the Reasons Cited by the ALJ


13To the extent Plaintiffs’ challenge is legal in nature, the
Court additionally finds the ALJ did not rely upon speculation
or inadmissible evidence in coming to her conclusion.
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       The larger argument presented by Plaintiffs on the facts is

whether J.N.’s behavior is more properly attributed to a lack of

proper support – here a trained one-to-one aide supported by a

special education teacher – or whether it stemmed from J.N.’s

anxiety over attending the ASP, the long day, and various

ailments, among other factors cited by the ALJ.           To determine

the answer to this question, the Court will set up the evidence

supporting each side and then determine, de novo, whether the

ALJ correctly attributed J.N.’s behavior to the factors listed

supra.

       Plaintiffs cite the following evidence in support of the

fact that J.N.’s behavior issues stemmed from lack of support:

   •   J.N. successfully attended the ASP in spring 2013 with a

       trained one-to-one aide supported by a special education

       teacher;

   •   J.N. successfully attended the ASP in spring 2014 with one

       or two trained one-to-one aides supported by a special

       education teacher;

   •   In spring 2014, Brennan, J.N.’s teacher, noted J.N. “was

       able to sit for longer periods of time with limited

       behavior problems”;

   •   Sometime in spring 2014, Brennan also noted a “huge

       decrease in aggressive behaviors,” (Pls.’ Mot. for J., Ex.

       4); and
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   •   J.N. has attended a different ASP from July to December

       2015 – with one-to-one support and access to a group aide –

       and January 2016 to present – with two-to-one support.

(Pls.’ Mot. for J. 13-14.)       It appears Plaintiffs request the

Court to infer based on the amount of supervision that J.N. had

at any given time directly impacted J.N.’s behavior.

       Defendant cites or the record shows the following evidence

in support of the fact that J.N.’s behavior stemmed from other

factors:

   •   Williams noticed an increase in J.N.’s behaviors when J.N.

       attended the ASP, and specifically thought it was because

       of a long school day and chronic ear infections, (Tr.

       1/19/2016 at 27:22-28:19);

   •   Williams, who observed J.N. at the ASP and in the classroom

       from January to mid-February 2014, stated J.N. was still

       exhibiting aggressive behavior to other students and staff

       members, (Tr. 1/19/2016 at 29:16-30:16);

   •   Williams, as a result of completing a behavioral analysis,

       believed that behavioral spikes seen when Haggerty left the

       room were related to J.N.’s anxiety with going to the ASP

       because he associated Haggerty leaving with the end of the

       school day, (Tr. 1/19/2016 at 51:9-22);




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    •   Williams believed, generally, that “the after[-]school

        program was kind of detrimental to J.N. because we would

        see his anxiety increase whenever he would have to attend

        the after school program” and then listed examples of

        behavioral issues she witnessed related to this anxiety,

        (Tr. 9/11/2015 at 80:21-83:11);

    •   Brennan, J.N.’s special education teacher, noticed an

        increase in behavioral issues during the school day that

        correlated with the time period during which J.N. attended

        the ASP and a decrease after he stopped attending, (Tr.

        1/19/2016 at 157:7-159:15, 160:10-21, 167:15-24);

    •   Brennan noted a decrease in J.N.’s aggressive behaviors

        after he started on new medicine in approximately January

        2014, (Tr. 1/19/2016 at 178:7-21).

        Reviewing these facts de novo, the Court finds that the

 factors cited by the ALJ correctly describe what the testimony

 and evidence showed.      Various factors contributed to J.N.’s

 behaviors at the ASP and at school.        The simple fact is that

 there was no testimony on the record which attributed an

 increase in behaviors to the individuals or amount of

 individuals supervising J.N.       The only evidence on the record

 attributed J.N.’s behavioral issues to the factors described by

 the ALJ, as well as J.N.’s anxiety over attending the ASP.            The



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 Court cannot ignore that evidence and come to a conclusion which

 contradicts it.

       The Court notes, however, this factual disagreement misses

 the bigger picture.     J.N. is a child with autism.        Whatever the

 function of his behaviors may be, it is clear the behaviors

 resulted from his autism.       The behavioral issues cited –

 aggression, perseverations, self-injurious behavior, and

 tantrums – are all commonly exhibited by children with autism

 and stem from biological and structural differences in the

 brain.   A.L. v. Walt Disney Parks & Resorts US, Inc., 900 F.3d

 1270, 1280-81 (11th Cir. 2018).        In fact, the ALJ specifically

 found that “J.N. exhibits problem behaviors which are a symptom

 of his condition.”     (Pls.’ Mot. for J., Ex. 9 17.)

       On the whole, the record supports the fact that those who

 worked with J.N. on a daily basis attributed his behavioral

 issues in the program and at school to a variety of factors, not

 the least of which was J.N.’s anxiety of attending the program.

 No witness believed it was because of the aides used in the ASP.

 With the record lacking in support of Plaintiffs’ requested

 inference, the Court cannot find that Plaintiffs are correct.

 Thus, viewing the facts de novo, the Court finds no error in the

 ALJ’s factual finding on this point.

          f. Whether the ALJ Erred when She Concluded that the
             Provision of FAPE Under IDEA Meant the District Had
             Complied with the ADA, Section 504, and NJLAD

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        Plaintiffs next argue there are legal errors in the ALJ’s

 opinion.    One is that the ALJ incorrectly found that the

 provision of FAPE required her to rule that the District had met

 its obligations under the ADA, Section 504, and NJLAD.            The

 Court cannot find that the ALJ reached that conclusion.            The ALJ

 specifically stated in her opinion: “[a]s to access to the ASP,

 I CONCLUDE that the District did provide access to J.N. with

 supports in place.” (Pls.’ Mot. for J., Ex. 9 20 (emphasis

 added).)    The use of the word access in the ALJ’s opinion

 suggests her decision was based on the proper standard of

 “meaningful access.” 14    Whether that decision is a different

 matter will be addressed infra.

          g. Whether J.N. is Entitled to Access the ASP

        Before determining whether J.N. was provided meaningful

 access, it is important to determine whether J.N. had a legal

 right to access the ASP.      It appears clear he does under Section

 504.    As 34 C.F.R. § 104.37, a Section 504 regulation, makes

 clear:

        A recipient to which this subpart applies shall
        provide non-academic and extracurricular services and
        activities in such manner as is necessary to afford


 14The Court notes Plaintiffs’ argument cites statutes,
 regulations, and case law. The Court does not ignore these
 standards and will consider those arguments when determining the
 ultimate question presented by Plaintiffs. The Court does note,
 however, the curious absence of any discussion of the standards
 under Section 504, the ADA, and NJLAD in the ALJ’s opinion.
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       handicapped   students   an   equal   opportunity            for
       participation in such services and activities.

       The answer is equally clear under the ADA.         An ADA

 regulation, 34 C.F.R. § 300.107(a) requires:

       Each public agency must take steps, including the
       provision   of   supplementary    aids   and   services
       determined appropriate and necessary by the child's
       IEP Team, to provide nonacademic and extracurricular
       services and activities in the manner necessary to
       afford children with disabilities an equal opportunity
       for participation in those services and activities.

 As Plaintiffs point out, and the District does not dispute, even

 if an activity may not be required for FAPE by IDEA, Section

 504, the ADA, and NJLAD may still require a school to provide

 supports to allow equal access.        The Court finds here that the

 ASP is properly governed by these statutes and that the District

 was required to provide J.N. with meaningful access.

           h. Whether J.N. was Provided Meaningful Access to the ASP

       With the relevant overarching law and facts in place, the

 Court can finally approach the most important legal question

 presented by Plaintiffs’ appeal: whether the District provided

 J.N. with meaningful access to the ASP.         The District rebuts

 Plaintiffs’ argument that there was no meaningful access, by

 relying on the fact that J.N.’s behaviors were not the result of

 his supervision but based on the factors cited by the ALJ.

 Defendant also cites case law that an accommodation is not

 reasonable or necessary if it does not provide more appreciable

 access.
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       As described supra, claims under Section 504, the ADA, and

 NJLAD require Plaintiffs to prove that J.N.: “(1) has a

 disability; (2) was otherwise qualified to participate in a

 school program; and (3) was denied the benefits of the program

 or was otherwise subject to discrimination because of [his]

 disability.”    Chambers v. Sch. Dist. of Phila. Bd. of Educ., 587

 F.3d 176, 189 (3d Cir. 2009) (citing Nathanson v. Med. Coll. of

 Pa., 926 F.2d 1368, 1380 (3d Cir. 1991)).         Only the third

 element here is contested.

       The third element may be shown when a plaintiff proves he

 was not given meaningful access to a program, here the ASP.             As

 described supra, “meaningful access” means “evenhanded treatment

 and the opportunity for handicapped individuals to participate

 in and benefit from programs receiving federal assistance.”

 Alexander v. Choate, 469 U.S. 287, 304 (1985) (citing Se. Cmty.

 Coll. v. Davis, 442 U.S. 397 (1979)).         One legal theory proving

 the above element is a failure to accommodate.          Here, Plaintiffs

 argue a trained one-to-one aide supervised by a special

 education teacher was the reasonable accommodation necessary to

 give J.N. meaningful access to the ASP.         Defendant argues the

 accommodation provided – a one-to-one aide – was all that was

 reasonable and necessary to give J.N. meaningful access.

 Therefore, in Plaintiffs’ view, the District has failed to

 accommodate J.N.

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       The Third Circuit recently stated that:

       claims alleging failure to accommodate under [Section
       504] involve the same tripartite inquiry as those
       under the ADA: (1) whether the requested accommodation
       is reasonable; (2) whether it is necessary; and (3)
       whether it would fundamentally alter the nature of the
       program.

 Berardelli v. Allied Servs. Inst. of Rehab. Med., 900 F.3d 104,

 123 (3d Cir. 2018).

       Generally, to determine whether an accommodation is

 reasonable “depends on the individual circumstances of each

 case, and requires a fact-specific, individualized analysis of

 the disabled individual’s circumstances and the accommodations

 that might allow him to” enjoy meaningful access.           Mark H. v.

 Hamamoto, 620 F.3d 1090, 1098 (9th Cir. 2010) (quoting Vinson v.

 Thomas, 288 F.3d 1145, 1154 (9th Cir. 2002)).          An accommodation

 is not reasonable if it requires “an organization to make

 fundamental or substantial alterations to its programs.”            Id.;

 see also Nathanson, 926 F.2d at 1384-86.

       The Third Circuit has also opined particularly on the

 element of necessity.      “[A] plaintiff ‘may not insist on a

 particular accommodation if another reasonable accommodation was

 offered,’ Third Circuit Model Civil Jury Instructions § 9.1.3,

 [but] such an alternative, in order to defeat necessity and

 serve as a defense, also must provide that ‘meaningful access.’”

 Berardelli, 900 F.3d at 125 (quoting Choate, 469 U.S. at 301).


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       To state it another way, “when an individual already has

 ‘meaningful access’ to a benefit to which he or she is entitled,

 no additional accommodation, ‘reasonable’ or not, need be

 provided by the grantee.”       A.M. ex rel. J.M. v. New York City

 Dep’t of Educ., 840 F. Supp. 2d 660, 680 (E.D.N.Y. 2012), aff'd,

 513 F. App'x 95 (2d Cir. 2013).        “[A]ny requested accommodation

 must first be deemed necessary to ensure an individual with

 disabilities has ‘meaningful access’ to the benefit in

 question.”    A.M. ex rel. J.M., 840 F. Supp. 2d at 680 (citing

 Se. Cmty. Coll. v. Davis, 442 U.S. 397, 410 (1979)). 15

       The Court will address the elements of reasonableness and

 necessity.    Within that analysis, because of the way the element

 of necessity is structured, the Court will make a determination

 about whether the District’s accommodation provided J.N. with

 meaningful access.     It will not, however, address the element of

 fundamental alteration in-depth.          The District does not argue

 that the requested accommodation would be a fundamental or

 substantial alteration.      Nonetheless, the Court finds it would

 not be because J.N. attended the ASP with the requested




 15In this case, that requires the Court to determine both that
 the District’s given accommodation did not afford meaningful
 access and that Plaintiffs’ proposed accommodation would have
 meet the above test to show there was a failure to accommodate.
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 accommodation in spring 2014. 16      There is no indication from the

 record that this worked a fundamental alteration.

       First, the Court will determine whether the requested

 accommodation was reasonable.       To do so, the Court must

 determine the individual circumstances of this case.           J.N.’s

 individual circumstances have been explained in detail, supra.

 To briefly repeat, J.N. has autism.        His autism sometimes

 results in behavioral issues that include aggressions (like

 pinching or biting), perseverations, tantrums, and self-

 injurious behaviors.      To help alleviate these behaviors, the

 District created a behavioral plan that includes a token economy

 system, a visual schedule, and a calm card.          During the school

 day (at the time period in question), J.N. received the help of

 a dedicated one-to-one aide, Haggerty, who was under the

 supervision of a special education teacher, Brennan.           The ASP,

 16In the context of extracurricular athletics, the Department of
 Education has opined:

       Because the school district always has a legal
       obligation under IDEA to provide aids or services in
       its education program to enable any IDEA-eligible
       students to participate in extracurricular activities,
       providing these aids or services after school to a
       student with a disability not eligible under the IDEA
       would rarely, if ever, be a fundamental alteration of
       its education program.

 U.S. Dep’t of Educ., Office of Civil Rights, “Dear Colleague
 Letter” at 8 (Jan. 25, 2013). In other words, without argument
 to the contrary, there is no reason to believe this would work a
 fundamental alteration of the ASP, especially considering how
 similar the ASP is to a normal school day.
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 similar to the school day, involves silent time to do work, a

 snack break, and group activities.        The ASP was inclusive,

 including both special and non-special education students.

       Plaintiffs argue their proposed accommodation is

 reasonable, because the District already provided it during

 spring 2014.    The District counters that the proposed

 accommodation is unduly burdensome and does not provide

 additional benefit to J.N.       The question of whether this is an

 undue financial burden is a defense considered, infra.            The

 question of whether the accommodation would provide an

 additional benefit is more properly disposed of after analyzing

 the questions of reasonableness and necessity.          Regardless, it

 is Plaintiffs’ burden to prove their proposed accommodation was

 reasonable.

       The Court finds, based on the facts, that Plaintiffs’

 requested accommodation is reasonable.         The two accommodations

 presented to the Court are (1) the provision of a one-to-one

 aide and (2) the provision of a one-to-one aide supported by a

 special education teacher.       As the case law cited supra shows,

 the Court must consider the circumstances and accommodations

 together to determine which might allow him to enjoy meaningful

 access.

       The facts of this case show the amount of access received

 by J.N. under both accommodations.        With merely a one-to-one

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 aide, J.N.’s behaviors were unable to be maintained.           J.N.

 either could not attend the ASP under the aide or the aide

 resigned.    The record reflects that both aides, Heitman and

 Marinelli, could not maintain J.N.’s behaviors and Heitman

 explicitly stated she resigned because of her inability to

 maintain J.N.’s behaviors.       With a one-to-one aide supported by

 a special education teacher, J.N.’s behaviors were maintained.

 J.N. attended the ASP, even with his behavioral issues and

 sometime absences, under this arrangement.

       Obviously, without the provision of Plaintiff’s proposed

 accommodation, J.N. is unable to receive meaningful access,

 because he is not able to attend the ASP in any substantive

 sense and thus did not receive an equal opportunity to

 participate.    The facts clearly show a pattern: if J.N.’s autism

 – which manifests in his behavioral issues – cannot be

 maintained, he is unable to actually attend and participate in

 the ASP.    Either he must be sent home or his aide resigns

 because of a failure to maintain his behavior.          Because

 Plaintiffs’ proposed accommodation does allow for meaningful

 access, it is reasonable.

       Moreover, the Court finds the similarities between the

 school day and the ASP make it reasonable for J.N. to receive

 the same level of support.       Because the ASP is merely an

 extension of the school day, it is reasonable J.N. to receive

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 Plaintiffs’ proposed accommodation.        Because of the fact that

 this type of support was provided to J.N. every school day and

 in spring 2014, the Court can see no administrative or financial

 reason why this amount of support could not or cannot be

 provided by the District.

         In this case, the questions of reasonableness and necessity

 have bled together.     Because only Plaintiffs’ proposed

 accommodation provides meaningful access, it would logically

 follow that it is necessary.       The Eighth, Ninth, and Eleventh

 Circuit have developed a test for determining whether an

 accommodation is necessary that is also persuasive 17 here.           In

 the interest of completeness, the Court will consider it is as

 well.     To determine whether a reasonable accommodation is

 necessary, a court should:

       (1) “start by considering how . . . facilities are
       used by nondisabled guests,” and (2) “then take
       reasonable steps to provide disabled guests with a
       like experience.”

 A.L. v. Walt Disney Parks & Resorts US, Inc., 900 F.3d 1270,

 1294 (11th Cir. 2018) (quoting Argenyi v. Creighton Univ., 703

 F.3d 441, 449 (8th Cir. 2013); Baughman v. Walt Disney World

 Co., 685 F.3d 1131, 1135 (9th Cir. 2012)).



 17The Court    finds it likely that even though these cases arise
 under Title    III of the ADA, they would be equally applicable
 under Title    II of the ADA. Berardelli, 900 F.3d at 114-16
 (explaining    how Titles I-III of the ADA have been read to create
 similar, if    not identical, standards).
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       Under this test of necessity, Plaintiffs’ proposed

 accommodation would also be considered necessary.           J.N. has only

 been able to attend the program with his behaviors maintained

 when he receives a one-to-one aide supported by a special

 education teacher.     Of the accommodations at-issue, this is the

 only one which would provide him with a “like experience.”            The

 other accommodation fails ab initio because J.N. cannot attend,

 much less participate and achieve a like experience.

       The District argues that the Plaintiffs’ proposed

 accommodation is not either reasonable or necessary because

 “J.N. exhibited behavioral problems in the program regardless of

 the amount of support provided.”          (Def.’s Opp’n Br. 15 (emphasis

 in original).)     In other words, the extra help did nothing to

 improve J.N.’s behaviors.       The Court agrees J.N.’s behaviors

 persisted throughout his time in the ASP.         And the Court agrees

 that this resulted – at least in fall 2013, between January and

 mid-February 2014, and in fall 2014 – in Plaintiffs arriving

 early on numerous occasions to pick up J.N. from the ASP because

 of these behaviors.     There also appears to be no dispute that

 (1) Plaintiffs sometimes picked up J.N. early regardless of




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 behavioral issues 18 and (2) three staff members may make

 socialization more difficult.

       From a case law perspective, the District argues Eric H. v.

 Methacton School District is a factually analogous case which

 compels the Court to find Plaintiffs’ requested accommodation is

 either not reasonable or not necessary.         265 F. Supp. 2d 513

 (E.D. Pa. 2003).     In that case, the child was diagnosed with

 acute lymphoblastic leukemia, which (along with other conditions

 and a lack of vaccinations) required him to miss school for fear

 of serious infection.      Id. at 516.    To enable socialization

 while the child was not in school, the district agreed to

 provide the child with a video teleconferencing system (“VTC”),

 which allowed him to fully participate in his classes,

 educationally and socially.       Id. at 516-17.

       But, the provision of the VTC created rather than solved

 the problems of social access.       According to the court, it led

 to “attention-seeking behavior” that was disruptive to the

 class.   Id. at 517.    The court also found the VTC led to a

 degradation of his “social and behavioral conduct.”           Id.   In

 considering a Section 504 claim, the court stated:

       Even assuming that VTC would under some circumstances
       be sufficient to confer a benefit on Eric that is
       available to his non-disabled peers, this is not the

 18This fact is, however, legally irrelevant. The Plaintiffs’
 actions do not bear any particular relevance to the question of
 access.
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       case here.      The record, including the explicit
       findings of the Hearing Officer and Appeals Panel,
       reflects that Eric's use of VTC disrupted his
       classmates, teacher and even impeded his progress
       toward some of his targeted social and behavioral
       objectives.   This disruption outweighs any possible
       benefit that VTC might provide.

 Id. at 522 (emphasis added).

       But, both the District’s case law and factual arguments

 miss the mark.     Eric H. is inapposite, because the child in Eric

 H. did not have a disability that resulted in behavioral issues.

 The child in that case had a physical disability that made it

 dangerous for him to attend school.        Unlike Eric H., J.N. has

 autism which resulted in the behavioral issues cited by the

 District.    It is fundamentally incorrect to argue an

 accommodation is unnecessary because of an individual’s

 disability.

       The District’s factual argument is also incorrect, because

 the proper question is not whether the behavior continued, but

 whether the services given ensured it was maintained.            J.N.’s

 fall 2013 and fall 2014 experience in the ASP show that a single

 one-to-one aide could not maintain J.N.         Only with the provision

 of a special education teacher and a one-to-one aide (or two)

 was J.N. able to be maintained.        Only under this scenario did

 the accommodation “confer a benefit on [J.N.] that is available

 to his non-disabled peers.”       Eric H., 265 F. Supp. 2d at 522.




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       Because Plaintiffs’ requested accommodation is reasonable,

 necessary, and would not cause a fundamental alteration of the

 ASP, the additional question of whether the District has proved

 an undue burden defense must be determined.          Unquestionably,

 whether an accommodation is an undue burden or hardship is for

 the District to prove.      Reyazuddin v. Montgomery Cnty., 789 F.3d

 407, 414 (4th Cir. 2015) (Section 504 case); Pollack v. Reg’l

 Sch. Unit 75, No. 2:13-cv-109-NT, 2017 U.S. Dist. LEXIS 64611,

 at *18 (D. Me. Apr. 28, 2017) (citing Reed v. LePage Bakeries,

 244 F.3d 254, 259 (1st Cir. 2001)) (Title II case).           But, there

 is no evidence in the record that elucidates the issue of

 whether providing the requested accommodation would be an undue

 burden, and for that reason, the Court finds this defense

 insufficient.    See Starego v. N.J. State Interscholastic Ath.

 Ass’n, 970 F. Supp. 2d 303, 313-14 (D.N.J. 2013) (rejecting

 defendant’s undue burden argument in Title II ADA case because

 defendant provided insufficient evidence).

       Accordingly, the Court finds – reviewing the law de novo –

 that the ALJ erred in finding the District provided J.N.

 meaningful access to the ASP under Section 504, the ADA, and

 NJLAD.   The Court finds it did not and that only the

 accommodation given in spring 2014 could have afforded J.N.

 meaningful access to the program.         As a result, the District has

 violated Section 504, the ADA, and NJLAD.

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          i. Whether J.N. was Subjected to Unnecessary Social
             Isolation

       The other legal question presented on appeal is whether

 J.N. was unlawfully subjected to unnecessary social isolation by

 the District when it denied him meaningful access to the ASP.

 The District does not directly rebut this argument.           Instead,

 the District argues because its accommodation provided

 meaningful access, there was no unnecessary social isolation.

 Based on the Court’s conclusion of law, supra, this argument

 fails.

       But, it is still Plaintiffs’ burden to show that J.N. was

 subjected to unnecessary social isolation.          The Court finds here

 that the regulations implementing Section 504 and the ADA

 required the District to provide the ASP in the “most integrated

 setting.”    See 28 C.F.R. § 35.130(d) (“A public entity shall

 administer services, programs, and activities in the most

 integrated setting appropriate to the needs of qualified

 individuals with disabilities.” (emphasis added)); 28 C.F.R. §

 41.51(d) (“Recipients shall administer programs and activities

 in the most integrated setting appropriate to the needs of

 qualified handicapped persons.” (emphasis added)).

       In practice, the Third Circuit has stated that “the ADA and

 its attendant regulations clearly define unnecessary segregation

 as a form of illegal discrimination against he disabled.”            Helen


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 L. v. DiDario, 46 F.3d 325, 333 (3d Cir. 1995).          Because of the

 similarities between the regulations, Section 504 imposes the

 same requirements.     See Henrietta D. v. Bloomberg, 331 F.3d 261,

 272 (2d Cir. 2003) (“[U]nless one of th[e] subtle distinctions

 [between Title II of the ADA and Section 504] is pertinent to a

 particular case, we treat claims under the two statutes

 identically.”).     Indeed, the Third Circuit has stated:

       The 504 coordination regulations, and the ADA “make
       clear that the unnecessary segregation of individuals
       with disabilities in the provision of public services
       is itself a form of discrimination within the meaning
       of those statutes, independent of the discrimination
       that arises when individuals with disabilities receive
       different services than those provided to individuals
       without disabilities.”

 Helen L., 46. F3d at 335 (citing approvingly an amicus brief

 filed by the United States Attorney’s Office).

       Thus, because Plaintiffs’ proposed accommodation would have

 provided meaningful access and the District refused to grant

 that accommodation, the District imposed unnecessary segregation

 upon J.N.    J.N. was kept from an integrated social setting

 because he was not given meaningful access to the ASP.            This

 Court finds, viewing the conclusions of law de novo, that the

 ALJ erred in not finding that this was also a violation of

 Section 504, the ADA, and NJLAD and technically constituted a

 form of discrimination.




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          j. Remedies

       Now that the Court has determined that the District has

 violated Section 504, the ADA, and the NJLAD, the Court must

 determine the appropriate next steps.         The Court finds

 Plaintiffs have not provided the Court with (1) appropriate

 briefing on the remedies available in this type of action and

 (2) if compensatory education is the appropriate remedy, record

 evidence supporting the amount of hours J.N. has been deprived

 of meaningful access and the rate at which each hour should be

 charged.   Instead, Plaintiffs just assert, without citation to

 the record, that J.N. was deprived of a certain amount of hours

 and that an appropriate rate per hour would be $80.

       For that reason, the Court will order the parties to

 convene and determine an appropriate briefing schedule to

 address what remedies are appropriate under the law, whether

 damages are available (in whatever form), and the appropriate

 legal measure of damages in a case such as this.           This

 supplemental brief is also to include whether Plaintiffs should

 be considered a prevailing party, and whether, if so, Plaintiffs

 should be allowed attorneys’ fees.        The parties are permitted to

 file supplemental declarations or affidavits or move before

 Magistrate Judge Williams for additional discovery if deemed

 necessary.




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                                 CONCLUSION

       For the reasons stated herein, Plaintiffs’ Motion for

 Judgment on the Administrative Record will be granted, in part,

 and the ALJ’s decision will be reversed, in part.           Supplemental

 briefing not inconsistent with the directives of this Opinion

 will be ordered.

       An appropriate Order will be entered.



 Date: March 29, 2019                       s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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